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       From:         Matt Fischer (             rgapple.com)
       To:           Steve McGuigan                gapple.com)
       CC:           Pedraum Pardehpoosh               gapple.com), Carson Oliver                    gapple.com), Debankur Naskar
                              gapple.com)
      BCC:
      Subject:     Re: Google Play Store shows you the streaming apps that have the movie or show you're searching for
      Attachments:
      Sent:        08/30/2018 10:34:26 PM 0000(GMT)

      + Debankur

      I've always wanted the ability to search for content within apps (specific movies, music, etc.) and show the relevant apps in
      search results.



         On Aug 30, 2018, at 3:26 PM, Steve McGuigan                  aapple.com> wrote:

         Seems like a great way to rive subscriptions for us. Are we exploring this for App Store search?

         Search for your favorite show (Pedraum will appreciate this one), and we return nothing today.




         https://www.androidpolice.com/2018/08/29/google-play-store-shows-streaming-apps-movie-show-youre-searching/


         Google Play Store shows you the streaming
         apps that have the movie or show you're
         searching for
         Rita El KhouryAug 29, 2018

         It used to be that the TV show you wanted to watch was on one of a few cable channels and the movies
         were available as physical rentals from your neighborhood video store. Nowadays, with streaming
         services popping left and right, you hear about a new show and have no idea where to watch it. Is it on
         Hulu? Or HBO? Or Amazon Prime? Or the network's own service only? Google took a step to alleviate
         that in March when it started displaying the streaming services any show or movie is available on after
         you search for them in Google Play Movies. Back then, it said the same would come to the Play Store,
         and now it has.



         To be frank, we don't know when exactly this started happening, but none of us here are Android
         Police recall seeing this behavior. It's either new or we missed it and no one tipped us about it.




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                                                                        EXHIBIT 6845
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         Regardless, when you search for a TV show or movie on the Play Store, you'll first see the cards related
         to it on Google Play Movies or Books (if it's available there), then among the top results will be the
         different Android apps where you can stream this content. On the app's card, below the title and
         developer, is a line in italics indicating that the movie/show are available to stream on this app.

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         I only get results on Amazon Prime Video, since this is the only supported streaming app in my
         country.(Netflix is accessible too here, but it's not among the list of services Google checks for
         content.) In the US, you should get more suggestions for apps to download where that video content is
         available.

               Thanks:
               Himanshu Singh




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